






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00669-CR







William Edward Hughes, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BLANCO COUNTY, 424TH JUDICIAL DISTRICT


NO. CR952, HONORABLE DANIEL H. MILLS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant William Edward Hughes was convicted of four counts of sexual assault
of a child and assessed four consecutive twenty-year prison terms.  His retained attorney at trial,
Eddie Shell, signed and filed a notice of appeal on Hughes's behalf.  The reporter's record has not
been filed and is overdue.  When notified by the Court, Shell replied in a letter that he was not
retained for the appeal and does not know whether Hughes wishes to pursue the appeal.

Having signed the notice of appeal, Shell is Hughes's lead counsel on appeal.  See
Tex. R. App. P. 6.1(a).  Shell's letter to the Court does not comply with either rule 6.4 or 6.5.  See
Tex. R. App. P. 6.4 (nonrepresentation notice), 6.5 (withdrawal of counsel).

To avoid further delays and protect the rights of the parties, the appeal is abated and
the trial court is instructed to determine, following a hearing if necessary, if Hughes wishes to pursue
the appeal and, if so, if Hughes is presently indigent.  See Tex. R. App. P. 37.3.  If the court finds
that Hughes wishes to appeal and is indigent, it shall appoint counsel to represent Hughes in this
appeal and order the preparation of the reporter's record.  Copies of all findings, conclusions, and
orders, and a transcription of the reporter's notes if a hearing is held, shall be tendered for filing in
this Court no later than June 6, 2008.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Abated

Filed:   May 7, 2008

Do Not Publish

		


